                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

ROBERT SIMS, et al.,

                                       Plaintiffs,
v.                                                           1:15-CV-732

BB&T CORPORATION, et al.,

                                       Defendants.



BREWSTER SMITH, JR., et al.,

                                       Plaintiffs,

     v.                                                           1:15-CV-841

BB&T CORPORATION, et al.,

                                       Defendants.



                        MEMORANDUM OPINION AND ORDER

Catherine C. Eagles, District Judge.

          Class Counsel for the plaintiffs seek an award of attorney’s fees, reimbursement of

reasonable expenses incurred in prosecuting this action, and compensation for the named

plaintiffs from a common fund created from the class action settlement. The Court has

reviewed Class Counsel’s request and supporting evidence, as well as attorney’s fees and

class representative awards from similar cases. For the reasons stated herein, the Court

will grant the motion.




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       I.     Background

       A detailed procedural history and description of the settlement agreement is set

forth in the Court’s Memorandum Opinion on final approval of the class action

settlement, issued concurrently with this Order. In sum, the parties have agreed to settle

the plaintiffs’ class action ERISA claims, which are based on alleged breaches of duties

of prudence and loyalty and prohibited transactions arising out of the defendants’

management of the BB&T employee retirement plan. The proposed settlement provides

for a common fund of $24 million as well as other non-monetary relief in exchange for,

inter alia, a release of ERISA-related claims on behalf of the approximately 72,000 class

members. The settlement also allows for an award of up to $8,000,000 in attorney’s fees,

$1.1 million in attorney’s expenses, and service awards of $20,000 for each of the

representatives.

       Consistent with this provision, Class Counsel asks this Court to approve an award

of $8,000,000 in attorney’s fees, reflecting one-third of the monetary recovery,

reimbursement of $768,176.42 in litigation expenses, and case contribution awards of

$20,000 for each of the class representatives. Doc. 444; Doc. 449. The defendants have

not opposed the motion.

       II.    Attorney’s Fees

              A.     Legal Standard

       In a class action, the court may award reasonable attorney’s fees and nontaxable

costs as authorized by law or by agreement. Fed. R. Civ. P. 23(h). In a common-fund

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case such as this, “a reasonable fee is based on a percentage of the fund bestowed on the

class.” Blum v. Stenson, 465 U.S. 886, 900 n.16 (1984). District courts in the Fourth

Circuit prefer the percentage method in common-fund cases, including ERISA cases, see

Kruger v. Novant Health, Inc., No 1:14CV208, 2016 WL 6769066, at *2 (M.D.N.C. Sept.

29, 2016); Smith v. Krispy Kreme Doughnut Corp., No. 1:05CV00187, 2007 WL 119157,

at *1 (M.D.N.C. Jan. 10, 2007), and “the vast majority of courts of appeals now permit or

direct district courts to use” this method. Manual for Complex Litigation § 14.121 (4th

ed. 2018); id. at n.483, n.484, n.485 (collecting cases).

       To determine the reasonableness of the fee award, courts begin by considering the

twelve factors identified in Barber v. Kimbrell’s, Inc.: “(1) the time and labor expended;

(2) the novelty and difficulty of the questions raised; (3) the skill required to properly

perform the legal services rendered; (4) the attorney’s opportunity costs in pressing the

instant litigation; (5) the customary fee for like work; (6) the attorney’s expectations at

the outset of the litigation; (7) the time limitations imposed by the client or

circumstances; (8) the amount in controversy and the results obtained; (9) the experience,

reputation and ability of the attorney; (10) the undesirability of the case within the legal

community in which the suit arose; (11) the nature and length of the professional

relationship between attorney and client; and (12) attorneys’ fees awards in similar

cases.” 577 F.2d 216, 226 & n.28 (4th Cir. 1978) (adopting factors from Johnson v. Ga.

Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir. 1974), abrogated on other

grounds by Blanchard v. Bergeron, 489 U.S. 87, 92–93 (1989)).

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         Courts should also conduct a lodestar cross-check that compares the requested

contingent fee award against a fee calculated based on hours spent at prevailing market

rates. See Boyd v. Coventry Health Care, Inc., 299 F.R.D. 451, 462 (D. Md. 2014). “The

purpose of a lodestar cross-check is to determine whether a proposed fee award is

excessive relative to the hours reportedly worked by counsel, or whether the fee is within

some reasonable multiplier of the lodestar.” Id. at 467. Courts often use the lodestar

method to cross-check the reasonableness of a percentage fee. Jones v. Dominion Res.

Servs., Inc., 601 F. Supp. 2d 756, 759–60 (S.D.W. Va. 2009) (collecting cases). To

determine the lodestar, courts multiply the reasonable hourly rate for each attorney by the

number of hours reasonably expended. Grissom v. The Mills Corp., 549 F.3d 313, 320

(4th Cir. 2008). When the lodestar method is used only as a cross-check, however, courts

need not “exhaustively scrutinize[]” the hours documented by counsel and “the

reasonableness of the claimed lodestar can be tested by the court’s familiarity with the

case.” Goldberger v. Integrated Res., Inc., 209 F.3d 43, 50 (2d Cir. 2000). Typically a

reasonable rate is calculated by looking at the local market, see Burrs v. United Tech.

Corp, No. 1:18-CV491, 2019 WL 1430258, at *1 (M.D.N.C. Mar. 29, 2019), but a

national market rate is appropriate for matters involving complex issues requiring

specialized expertise, such as ERISA class actions. See Kruger, 2016 WL 6769066, at

*4.




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              B.     Analysis

       Class Counsel’s request for a fee of $8 million, reflecting one-third of the

monetary recovery provided to class members in the settlement agreement, is reasonable

following consideration of the twelve Barber factors. Class Counsel spent over 16,000

attorney hours and 2,200 hours of non-attorney time to this matter, a significant

investment of labor and resources. See Doc. 445 at 6; Doc. 445-5 at ¶ 3; Doc. 445-3 at

¶¶ 4–6. ERISA litigation is a “rapidly evolving and demanding area of law” in which

“[n]ew precedents are frequently issued.” In re Wachovia Corp ERISA Litig., No.

3:09cv262, 2011 WL 5037183, at *4 (W.D.N.C. Oct. 24, 2011). This, and the

“significant risk of nonpayment” in ERISA matters generally, see Kruger, 2016 WL

6769066, at *4, tend to indicate that recovery requires navigating novel issues and

applying specialized skills. Class Counsel credibly testified that taking on a large class

action like this “impacts the firm’s ability to handle other class actions or pursue other

less risky matters,” Doc. 445-1 at ¶ 30, and thus comes at some opportunity cost.

       A one-third fee is consistent with the market rate in complex ERISA matters such

as this and reflects a customary fee for like work. See Kruger, 2016 WL 6769066, at *2

(collecting cases). Class Counsel has also credibly described their expectation that this

matter would be vigorously defended by BB&T, as it was, and would require

considerable resources, as it has. Doc. 445-1 at ¶¶ 26–29. Class Counsel recovered

monetary relief reflecting 19% of $124 million in total damages sought by the plaintiffs

after summary judgment, as well as non-monetary relief and tax benefits that will add

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approximately $15 million in additional monetary value for class members. See Doc. 445

at 12–14 (estimating a total settlement value of $38.97 million).

       Several courts have recognized the considerable skills and ability of lead counsel,

Mr. Schlichter and his firm, in ERISA matters, see, e.g., Beesley v. Int’l Paper Co., No.

06-703, 2014 WL 375432, at *2 (S.D. Ill. Jan. 31, 2014); Will v. Gen. Dynamics Corp.,

No. 06-698, 2010 WL 4818174, at *2–3 (S.D. Ill. Nov. 22, 2010), and have recognized

that this firm’s work on behalf of retirement plan beneficiaries has resulted in reductions

of recordkeeping fees on retirement plans in the United States overall. Nolte v. Cigna

Corp., No. 2:07-cv-2046- HAB-DGB, 2013 WL 12242015, at *2 (C.D. Ill. Oct. 15,

2013). Co-counsel Nichols Kaster has appeared in ERISA matters and has received

similar recognition. See Johnson v. Fujitsu Tech. & Bus. Of Am., Inc., No. 16-3698, 2018

WL 2183253, at *6–7 (N.D. Cal. May 11, 2018) (noting the firm achieved a “strong

result” that appeared by “all measures to be the work of skillful and experienced

attorneys with significant expertise in the ERISA context.”).

       In this matter as well, Class Counsel displayed skill and determination. It is

unsurprising that only a few firms might invest the considerable resources to ERISA class

actions such as this, which require considerable resources and hold uncertain potential for

recovery. A one-third fee reflects a reasonable attorney’s fee in this matter for the

attorneys who did assume this risk, diligently advocated on behalf of the class, and

obtained significant recovery.




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       The lodestar cross-check also supports that the motion for attorney’s fees should

be granted. Class Counsel has submitted evidence that lead counsel Schlichter, Bogard &

Denton spent 14,605.70 hours of attorney time and 1,951.70 hours of non-attorney time

on this matter. Doc. 445-5 at ¶ 3. Co-counsel Nichols Kaster has also submitted

evidence they spent 1,419.50 hours of attorney time and 273.50 hours of non-attorney

time on this matter to date. Doc. 445-3 at ¶¶ 4–6. Both firms provided a breakdown of

hours by overall stage in the litigation, see id. at ¶ 4; Doc. 445-2 at ¶ 9, and the amount of

time spent by Class Counsel was reasonable based on the Court’s familiarity with the

case. See Goldberger, 209 F.3d at 50.

       Class Counsel Schlichter, Bogard & Denton asserts that reasonable hourly rates

for its attorneys are $1,060 per hour for attorneys with over 25 years of experience, $900

per hour for attorneys with 15 to 24 years of experience, $650 per hour for attorneys with

5 to 14 years of experience, $ 490 per hour for attorneys with 2–4 years of experience,

and $330 per hour for attorneys with less than 2 years of experience, law clerks, and

paralegals. Doc 445-2 at ¶ 7. These requests are reasonable and reflect a 3% annual

increase over two years from fees previously approved in this District for an ERISA case

two-and-a-half years ago. Kruger, 2016 WL 6769066, at *4; see also Burrs v. United

Tech. Corp, No. 1:18-CV491, 2019 WL 1430258, at *1–2 (M.D.N.C. Mar. 29, 2019)

(calculating reasonable attorney rate based on reasonable increase over time given the

legal market). The rates claimed by Nichols Kaster—$250 for law clerks and paralegals,

$425 per hour for attorneys with 2 to 4 years of experience, $575 per hour for attorneys

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with 5 to 9 years of experience, $625 per hour for attorneys with 10 to 14 years of

experience, $775 per hour for attorneys with 15 to 24 years of experience, and $875 per

hour for attorneys with more than 25 years of experience, Doc. 445-3 at ¶¶ 5–6—are also

reasonable and are comparable to fees that have been recently approved in another

ERISA class action. See Johnson, 2018 WL 2183253, at *7 (approving rates of $600 to

$875 per hour for attorneys with more than 10 years of experience, $325 to $575 per hour

for attorneys with 10 years or less experience, and $250 per hour for paralegals and

clerks).

       The lodestar amount, using these hours and rates, amounts to over $12 million for

Schlichter and almost $1 million for Nichols Kaster, for a total of over $13 million. Doc.

445 at 21; Doc. 445-2 at ¶ 8; 445-3 at ¶ 7. This is several million dollars more than the

fee request and reflects a multiplier far below the typical range for similar class actions.

See Singleton v. Domino’s Pizza, LLC, 976 F. Supp. 2d 665, 689 (D. Md. 2013) (noting

that the lodestar multipliers “on large and complicated class actions have ranged from at

least 2.26 to 4.5”). The lodestar cross-check confirms that the requested attorney’s fees

are more than reasonable, and the motion as to attorney’s fees will be granted.

       III.   Attorney’s Expenses

       Under Rule 23(h), a trial court may award nontaxable costs that are authorized by

law or the parties’ agreement. Fed. R. Civ. P. 23(h). “The prevailing view is that

expenses are awarded in addition to the fee percentage.” Krispy Kreme, 2007 WL

119157, at *3 (internal quotation omitted). Reimbursable expenses include expert fees,

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travel, long-distance and conference telephone, postage, delivery services, settlement

costs, and computerized legal research. Alba Conte, 1 Attorney Fee Awards § 2:19 (3d

ed. 2018); Phillips v. Triad Guar. Inc., No. 1:09-CV71, 2016 WL 2636289, at *9

(M.D.N.C. May 9, 2016); Spano v. Boeing Co., No. 06-CV-743-NJR-DGW, 2016 WL

3791123, at *4 (S.D. Ill. Mar. 31, 2016).

       Class Counsel has submitted evidence in support of their request for

reimbursement for $737,377.63 of expenses on behalf of Schlichter, Bogard & Denton,

Doc. 449 at 2; 449-1; 449-2, and $30,798.79 on behalf of Nicols Kaster. Doc. 445-3 at

¶ 8. These expenses included the costs of hiring experts and consultants, taking

depositions, travel, lodging, and parking, copies and communication costs, and mediation

and settlement costs, and professional fees, among others. Doc. 449-2 at ¶ 2; Doc. 445-3

at ¶ 8. In a supplemental filing, Schlichter, Bogard & Denton have represented that

mediation and settlement costs include the mediator charges, and costs associated with

the settlement-related website. Doc. 449-1 at 3. At the May 1, 2019 fairness hearing,

Class Counsel also stated that the professional fees included costs of counsel for experts

that were retained in connection with prosecuting this matter.

       The Court has reviewed the expenses and the supporting documentation and finds

that the expenses were reasonable. The motion will be granted.

       IV.    Service Awards

       At the end of a successful class action, it is common for trial courts to compensate

class representatives for the time and effort they invested to benefit the class. See, e.g.,

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Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir. 1998). The plaintiffs ask that each of the

ten named plaintiffs receive $20,000 in recognition of their contributions to the success of

the case. Doc. 445 at 23.

       Class Counsel has proffered that the named plaintiffs “provided invaluable

assistance to Class Counsel in prosecuting the case” and “showed commitment to the

case,” and the record reflects that these individuals provided declarations and depositions

related to class certification. Doc. 445 at 23 (citing Docs. 192-3–192-12; 147-3–147-6,

147-9–147-14). This amount is consistent with awards in similar ERISA settlements and

the motion as to this request will also be granted. See, e.g., Kruger, 2016 WL 6769066,

at *6 (approving service award of $25,000 to seven class representatives); Abbott v.

Lockheed Martin Corp., No 06-cv-701-MJR-DGW, 2015 WL 4398475, at *4 (S.D. Ill.

July 17, 2015) (approving incentive awards of $25,000 for six class representatives);

Krueger v. Ameriprise Fin., Inc., No. 11-CV-02781, 2015 WL 4246879, at *3–4 (D.

Minn. July 13, 2015) (approving incentive awards of $25,000 for five named plaintiffs).

       V.     Conclusion

   The Court finds that Class Counsel’s uncontested motion for attorney’s fees,

attorney’s expenses, and service awards for the named plaintiffs is well-supported and

reasonable. Accordingly, it is ORDERED that:

   1. Class Counsel’s motion for attorney’s fees, reimbursement of expenses, and case

       contribution awards for named plaintiffs, Doc. 444, is GRANTED.




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2. Class Counsel is entitled to an attorney’s fee of $8,000,000, to be paid from the

   settlement amount.

3. Class Counsel shall be reimbursed for expenses of $768,176, which are to be paid

   from the settlement amount.

4. A case contribution award of $20,000 shall be paid to each of the named plaintiffs

   Brewster Smith, Erik Gavidia, Stephanie Gavidia, Doris Kirouac, Paula Bridges,

   Nancy Johnson, Kerri Greaner, Robert Sims, Stacy Holstein, and Patricia Wells,

   also to be paid from the settlement amount.

This is the 6th day of May, 2019.




                                       ________________________________
                                       UNITED STATES DISTRICT JUDGE




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